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 5   Attorneys for Plaintiff
     United States of America
 6

 7

 8                                   IN THE UNITED STATES DISTRICT COURT
 9                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-076-LKK
12                      Plaintiff,                       STIPULATION AND ORDER SETTING
                                                         EVIDENTIARY HEARING
13                          v.
                                                         Court: Hon. Lawrence K. Karlton
14   CRESCENCIO DELGADO-EZQUIVEL,                        Time: 9:30 a.m.
     et al.,                                             Date: February 26, 2014
15
                        Defendants.
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17          It is hereby stipulated by and between the parties, through their undersigned counsel, that the
18   evidentiary hearing on defendant Crescencio Delgado-Ezquivel's motion for safety valve sentencing
19   within the meaning of 18 U.S.C. § 3553(f) shall be held on February 26, 2014, at 9:30 a.m. The Court
20   Clerk has already advised that the Court is available for a hearing on that date and time.
21          Dated: November 15, 2013
22                                                 HEATHER WILLIAMS
                                                   Federal Defender
23

24                                                 /s/ Douglas Beevers
                                           By:     ______________________________
25                                                 DOUGLAS BEEVERS
                                                   Assistant Federal Defender
26                                                 Attorney for Defendant
                                                   CRESCENCIO DELGADO-EZQUIVEL
27
                                                   (per telephone authorization)
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                                                          1
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 1                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
 2
                                                    /s/ Samuel Wong
 3
                                            By:      ___________________________
 4                                                  SAMUEL WONG
                                                    Assistant U.S. Attorney
 5

 6                                                     ORDER

 7

 8          The Court having received, read, and considered the parties' stipulation, and good cause
 9   appearing therefrom, adopts the parties' stipulation in its entirety as the Court's order.
10          It is ordered that the evidentiary hearing on defendant Crescencio Delgado-Ezquivel's motion for
11   safety valve sentencing within the meaning of 18 U.S.C. § 3553(f) shall be held on February 26, 2014,
12   at 9:30 a.m.
13          Dated: November 19, 2013
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